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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
19-CR-110080-NMG

                             UNITED STATES OF AMERICA


                                              v.

                                    DAVID SIDOO, et al.


                                      ORDER AND
                                 FINAL STATUS REPORT

                                        May 5, 2020
KELLEY, M.J.

       The final status conference in this case was held today, May 5, 2020. The parties

filed a joint final status report setting out all required information (#1140). To date, no

defendants are requesting R. 11 hearings.

       The government has produced the discovery materials as set out in the status

report filed on April 9, 2020 (#1071). Defendants may have additional discovery

requests after reviewing the government’s latest production. Defendants will file any

remaining discovery motions by May 22, 2020, and the government will have until June

5, 2020, to respond. Defendants proceeding to trial on September 29, 2020, will

produce reciprocal discovery by July 17, 2020.

       Defendants filed 18 motions under Fed. R. Crim P. 12(b), on March 31 and April

1, 2020. The government filed responses to eight of the motions on April 30, and will file

a response to the remaining motions by May 8, 2020. Defendants’ replies to the April 30
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responses shall be filed by May 15, and replies to the May 8 responses shall be filed by

May 27, 2020.

       No defendant intends to raise a defense of insanity or public authority.

       The government estimates trial will take three to six weeks, assuming trial will be

held on a schedule of three-quarter days.

       Defendants request expert discovery. The government shall provide expert

disclosures 90 days before trial, and defendants, 60 days before trial. Rebuttal experts

shall be noticed 30 days before trial.

       With the agreement of the parties, this court finds and concludes, pursuant to the

provisions of 18 U.S.C. § 3161(h)(8) and Section 5(b)(7) of the Plan for Prompt

Disposition of Criminal Cases in the United States District Court for the District of

Massachusetts (Statement of Time Limits Adopted by the Court and Procedures for

Implementing Them, Effective December 2008), that the interests of justice, i.e., for

defendants and the government to continue preparing the case, outweigh the best

interests of the public and the defendants for a trial within seventy days of defendants’

arraignment.
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       Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time

for the period of May 5, 2020, to the date the parties appear before the District Court for

the pretrial status conference, July 28, 2020, under the Speedy Trial Act.1



                                              / s /Page Kelley
                                           M. Page Kelley
                                           UNITED STATES MAGISTRATE JUDGE




  1
     The parties are hereby advised that under the provisions of Rule 2(b) of the Rules
for United States Magistrates in the United States District Court for the District of
Massachusetts, any party may move for reconsideration by a district judge of the
determination(s) and order(s) set forth herein within ten (10) days after receipt of a copy
of this order, unless a different time is prescribed by this court or the district judge. The
party seeking reconsideration shall file with the Clerk of this Court, and serve upon all
parties, a written notice of the motion which shall specifically designate the order or part
thereof to be reconsidered and the basis for the objection thereto. The district judge,
upon timely motion, shall reconsider the magistrate's order and set aside any portion
thereof found to be clearly erroneous in fact or contrary to law. The parties are further
advised that the United States Court of Appeals for this Circuit has indicated that failure
to comply with this rule shall preclude further appellate review. See Keating v.
Secretary of Health and Human Services, 848 F.2d 271 (1st Cir. March 31, 1988);
United States v. Emiliano Valencia-Copete, 792 F.2d 4 (1st Cir. 1986); Park Motor Mart,
Inc. v. Ford Motor Co., 616 F.2d 603 (1st Cir. 1980); United States v. Vega, 678 F.2d
376, 378-379 (1st Cir. 1982); Scott v. Schweiker, 702 F.2d 13, 14 (1st Cir. 1983); see
also Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466 (1985).
